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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

In Re: }
JOHN SANER } Case No. 11- 15626
} Chapter 13
Debtor }
}
AMENDED PLAN

1. Amended Plan.

/s/Roland V. Combs, II]

Roland V. Combs, TIT, OBA#11073
P.O. Box 60647

Okiahoma City, OK 73146
405-942-7866Telephone
405-942-7845Facsimile

E-mail: rolandveombs@sbecglobal.net
ATTORNEY FOR DEBTOR

CERTIFICATE OF SERVICE

I, Roland V. Combs, III, hereby certify that on this 20" day of August, 2015, a
true and correct copy of the above Amended Plan was electronically served using
CM/ECF system to: US Trustee and John T. Hardeman Chapter 13 Trustee

Further, I certify that on the 20" day of August, 2015 a true and correct copy of
the Amended Plan was mailed via U.S. Mail, first class, postage prepaid and properly
addressed to the following at the address shown.

John Saner

1716 Magnolia Lane
Edmond, Oklahoma 73013
And

Matrix
/s/Roland V. Combs, III

 
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United States Bankruptey Court
Western District of Oklahoma

 

 

IN RE: Case No. 11-15626
Saner, John Sein Chapter 13

AMENDED CHAPTER 13 PLAN
_} Original [XJ] Amended Date: August 20, 2015.

YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully and discuss them with your attomey. Anyone
who wishes to oppose any provision of this plan or any motion included below must file a timely written objection. This plan may be
confirmed and the motions included below may be granted without further notice or hearing unless written objection is filed before
the deadline stated on the separate Notice you should have received from the bankruptcy court. If you have a secured claim, this is
notice that your lien may be voided or modified if you do not object to this plan.

THIS PLAN DOES NOT ALLOW CLAIMS. You must file a proof of claim to be paid under any plan that may be confirmed,
1. PAYMENT AND LENGTH OF PLAN
(a) Debtor shall pay $ 638.90 per month to the Chapter 13 Trustee starting November 14,2011 for approximately 36 months,

Debtor will pay directly to the trustee
] A payroll deduction order will issue to the Debtor’s employer:

(b) Joint Debtor shall pay $ per to the Chapter 13 Trustee starting for approximately
months.

(] Joint Debtor will pay directly to the trustee
(1 A payroll deduction order will issue to the Joint Debtor's employer:

(c) Other payments to trustee:

 

(d) Total amount to be paid to Trustee shall be not less than $ 21,899.90,

2. PRIORITY CLAIMS (INCLUDING ADMINISTRATIVE EXPENSES AND SUPPORT)
Counsel for the debtor intends to seck compensation in excess of the no-look
amount typically approved by the Court. Counsel will file a fee application
with time records attached within 60 days of confirmation of the plan. The
fee sought will not exceed the amount available based on the plan,

3. SECURED CLAIMS: MOTIONS TO VALUE COLLATERAL AND VOID LIENS UNDER 11 U.S.C. § 506
HSBC Bank USA, National Trust Company as Trustee for the benefit of the certificate holders of

Citigroup Mortgage Loan Trust, Inc., Asset-Backed Pass- Through Trust 2005-SHL-1 and/or Wells
Fargo Home Mortgage assert they hold a mortgage on Debtor's home located at 1716 Magnolia Lane,
Edmond, Oklahoma, Debtor disputes the validity of the asserted mortgage. The validity of the mortgage
is being litigated in Oklahoma County District Court, Case No. CJ-2009-7018. As a result of the litigation
the Oklahoma County District Court, no payments will be paid through the Chapter 13 plan on any
mortgage obligation, The rights of the holder of any valid mortgage shall pass through this Chapter 13
case unaffected.

(b) Debtor surrenders or abandons the following collateral. Upon confirmation, the stay is lifted as to surrendered or abandoned
collateral.

Creditor ; Collateral to be Surrendered or Abandoned
None
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4. UNSECURED CLAIMS
(a) Not Separately Classified. Allowed non-priority unsecured claims shall be paid:
Not less than $ to be distributed pro rata.
D4 Not less than 100.00 percent.
[J Other;

(b) Separately Classified Unsecured Claims

Creditor Basis for Classification Treatment Amount
None

 

5. CURING DEFAULT AND MAINTAINING PAYMENTS
(a) Trustee shall pay allowed claims for arrearages, and Trustee shall pay regular postpetition contract payments to thesc creditors:

; Estimated Interest Rate Monthly Arrearage Regular Monthly
Creditor Collateral or Type of Debt Arrearage (arrearage) Payment Payment

Nona

(b) Trustee shall pay allowed claims for arrearages, and Debtor shall pay regular postpetition contract payments directly to these
creditors:

Estimated Interest Rate Monthly Arrearage Regular Monthly

 

Creditor Collateral or Type of Debt Alrearage (arrearage) Payment Payment
None

6. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Executory contracts and unexpired leases are assumed or rejected as follows:

Creditor/Lessor Property Description Assume/Reject

None

7. OTHER PLAN PROVISIONS AND MOTIONS
(a} Motion to Avoid Liens under 11 U.S.C, § $22(f), Debtor moves to avoid the following liens that impair exemptions:
Creditor Collateral Amount of Lien to be Avoided

(b) Lien Retention. Except as provided above in Scction 4, allowed secured claim holders retain liens until:
Liens are released at discharge,

(3d Liens are released upon payment of allowed secured claim as provided above in Scction 3.
(_J Liens are released upon completion of all payments under the plan.

{c) Veating of Property of the Estate. Property of the estate shall revest in Debtor:
Upon confirmation

() Upon discharge .
C) Other:

 

{d) Payment Notices. Creditors and leasors provided for above in Sections 5 or 6 may continue to mail customary notices or
coupons to the Debtor or Trustee notwithstanding the automatic stay.

(e) Order of Distribution. Trustee shall pay allowed claims in the following order:
Trustees Commissions
Other Administrative Claims
Priority Claims
Secured Claims
General Unsecured Claims

Dated: August 20 2015 /af John Saner

Signature of Debtor
és! Roland V. Combs, ill

Signature of Attomey Signature of Spouse (if applicable)
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AT&T CREDIT MGMT CTR
PO BOX 721440
NORMAN OF 73070

BEAR AND TIMBERLAKE AND COULSON & CATES
JOHN D WEAVER

PO BOX 18486

OKLAHOMA CITY OK 73154-0486

BRENNER MORTGAGE CORP
3324D FRENCH PARK DRIVE
EDMOND OK 73044

CENTRAL STATES
FO BOX 3130
HUTCHINSON KS 67504

INTERNAL REVENUE SERVICE
55 N ROBINSON
OKLAHOMA CITY OK 73102

MIDLAND CREDIT MGMT INC
83875 ABRO DR STE 2
SAN DIEGO CA 92123

NORTHWEST COLLECTORS
3601 ALGONQUIN ROAD STE 232
ROLLING MEADOWS IL 60008

OKLAHOMA TAX COMMISSION
55 NORTH ROBINSON
OKLAHOMA CITY OK 73102

PINNACLE CREDIT SERVICES
PO BOX 640
HOPKINS MN 55343-0640
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TULSA ADJUSTMENT BUREAU
1754 UTICA SO #28
TULSA OK 74114

WELLS FARGO HOME MORTGAGE
3480 STATEVIEW BLVD
FT MILLS SC 29716
